                     IN THE UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

   IN RE:                                       )
                                                )
   ROBERTS, WILLIAM BARRIER                     ) CASE NO. 18-83442-CRJ11
   SSN: XXX-XX-9314                             ) CHAPTER 11
                                                )
       Debtor.                                  )




                     CHAPTER 11 PLAN OF REORGANIZATION OF
                       WILLIAM BARRIER ROBERTS, DEBTOR
                           AND DEBTOR-IN-POSSESSION




                                          May 20, 2019




 Stuart M. Maples
 Deanna S. Smith
 MAPLES LAW FIRM, PC
 200 Clinton Avenue West, Suite 1000
 Huntsville, Alabama 35801
 (256) 489-9779 – Telephone
 (256) 489-9720 – Facsimile
 smaples@mapleslawfirmpc.com
 dsmith@mapleslawfirmpc.com

 Counsel for Debtor-in-Possession




Case 18-83442-CRJ11      Doc 99       Filed 05/20/19 Entered 05/20/19 16:43:29   Desc Main
                                    Document      Page 1 of 16
                  DEBTOR’S CHAPTER 11 PLAN OF REORGANIZATION
                               DATED MAY 20, 2019

        In accordance with 11 U.S.C. § 1121, William Barrier Roberts, debtor-in-possession
 ("Debtor") in the above captioned Chapter 11 case files this Plan of Reorganization dated May 20,
 2019, (the "Plan"), in the United States Bankruptcy Court for the Northern District of Alabama,
 Northern Division ("Bankruptcy Court" or "Court").

                                                I.
                                           DEFINITIONS

         The following terms shall have the following meanings unless the context otherwise
 requires and, unless otherwise indicated, the singular shall include the plural. The definitions
 contained in §§101 and 1101 of the Bankruptcy Code shall control unless different definitions are
 stated herein, in which case the definitions as stated herein shall control for purposes of this Plan.

        1.01 "Accounting Fees" means accounting and/or administrative management fees for
 preparing tax returns and other financial reports.

         1.02 "Administrative Claim" means Claims that have been timely filed before the
 Administrative Claim Bar Date (except as otherwise provided by a separate order of the
 Bankruptcy Court, including the Sale Procedures Order), for costs and expenses of administration
 under §§ 503(b), 507(b) or 1114(e)(2) of the Bankruptcy Code, including, without limitation: (a)
 the actual and necessary costs and expenses incurred after the Petition Date of preserving the Estate
 and operating the business of the Debtor (such as wages, salaries or commissions for services and
 payments for goods and other services); and (b) all fees and charges assessed against the Estate
 under Chapter 123 of Title 28 of the United States Code, 28 U.S.C. §§ 1911-1930, but excluding
 Professional Fee Claims.

         1.03 "Allowed" means with respect to any Claim, except as otherwise provided herein:
 (a) a Claim that has been scheduled by the Debtor in its schedules of liabilities as other than
 disputed, contingent or unliquidated, unless a Proof of Claim has been timely filed, and as to which
 the Debtor or other parties-in-interest have not Filed an objection by the Claims Objection Bar
 Date; (b) a Claim that has been allowed by a Final Order; (c) a Claim that is Allowed: (i) in any
 stipulation of the amount and nature of a Claim executed prior to the Effective Date and approved
 by the Bankruptcy Court; or (ii) in any stipulation with the Debtor of the amount and nature of a
 Claim executed on or after the Effective Date; (d) a Claim that is Allowed pursuant to the terms
 hereof; or (e) a Claim as to which a Proof of Claim has been timely Filed and as to which no
 objection has been Filed by the Claims Objection Bar Date.

         1.04 "Allowed Claim" means a right against the Debtor within the meaning of § 101(5)
 of the Bankruptcy Code in respect of which a Proof of Claim has been filed with the Bankruptcy
 Court within the period of limitation fixed by Bankruptcy Rule 3003 or scheduled in the list of
 creditors prepared and filed with the Bankruptcy Court pursuant to Bankruptcy Rule 1007(b) and
 not listed as disputed, contingent or unliquidated as to amount, and in either case as to which no
 objection as to allowance or amount thereof has been raised within the applicable period of
 limitation fixed by Bankruptcy Rule 3001 or an order of the Bankruptcy Court or local rule, or as




Case 18-83442-CRJ11         Doc 99     Filed 05/20/19 Entered 05/20/19 16:43:29             Desc Main
                                     Document      Page 2 of 16
 to which any such objection has been determined by an order or judgment which is no longer
 subject to appeal or certiorari proceeding and as to which no appeal or certiorari is pending. Unless
 otherwise specified in this Plan or in a Final Order of the Bankruptcy Court allowing such Claim,
 “Allowed Claim” shall not include (a) interest on the amount of such Allowed Claim accruing
 from and after the Petition Date, (b) punitive or exemplary damages, (c) any fine, penalty or
 forfeiture, (d) costs of repossession or dispossession or (e) post-petition attorney fees and costs
 unless such fees and costs have been approved and allowed by Final Order prior to the
 Confirmation Date.

        1.05 “Avoidance Actions” means any and all avoidance, recovery, subordination or
 other actions or remedies that may be brought on behalf of the Debtor, or its Estate under the
 Bankruptcy Code or applicable non-bankruptcy law, including, without limitation, actions or
 remedies under §§ 510, 542, 543, 544, 545, 547, 548, 549, 550, 551, 552 and 553 of the Bankruptcy
 Code.

         1.06   "Bankruptcy Code" has the meaning given to such term in the preamble of this
 Plan.

        1.07 "Bankruptcy Court" or "Court" means the United States District Court for the
 Northern District of Alabama, having jurisdiction over the Chapter 11 Case and, to the extent of
 any reference made pursuant to Section 157 of Title 28 of the United States Code or the General
 Order of the District Court pursuant to Section 151 of Title 28 of the United States Code, the
 United States Bankruptcy Court for the Northern District of Alabama.

         1.08 "Bankruptcy Rules" means the Federal Rules of Bankruptcy Procedure,
 promulgated under 28 U.S.C. § 2075, the Local Rules of Bankruptcy Practice and Procedure of
 the United States Bankruptcy Court for the Northern District of Alabama, the Local Rules of Civil
 Practice and Procedure of the United States District Court for the Northern District of Alabama,
 and general orders and chambers procedures of the Bankruptcy Court, each as applicable to the
 Chapter 11 Case and as amended from time to time.

         1.09 "Bar Date" means the date established by the Court as the deadline for filing all
 Claims. Bar date for governmental claim holders in a Chapter 11 case is 180 days from the date
 of filing. Claims filed after the Bar Date, which are not otherwise Allowed Claims, will be
 disallowed and of no effect.

         1.10 “Business Day” means any day, other than a Saturday, Sunday, “legal holiday” (as
 that term is defined in Bankruptcy Rule 9006(a)) or a day on which banking institutions in the
 State of Alabama are authorized or obligated by law, executive order or governmental decree to
 be closed.

         1.11   "Claim" means a “claim” as that term is defined in § 105(5) of the Bankruptcy
 Code.

         1.12   "Class" means one of the classes of allowed claims or equity interests established
 by the Plan.




Case 18-83442-CRJ11         Doc 99     Filed 05/20/19 Entered 05/20/19 16:43:29            Desc Main
                                     Document      Page 3 of 16
       1.13 "Confirmation Date" means the date of the Confirmation Order is entered by the
 Bankruptcy Court.

        1.14 "Confirmation Order" means the order of the Bankruptcy Court in form and
 substance acceptable to the Debtor, confirming this Plan pursuant to § 1129 of the Bankruptcy
 Code.

       1.15 "Court" means the United States Bankruptcy Court for the Northern District of
 Alabama, Northern Division.

        1.16    "Debtor" means William Barrier Roberts.

        1.17    “Disbursing Agent” means William Barrier Roberts.

        1.18    "Effective Date" means thirty (30) days after the Confirmation Date.

        1.19 "Estate” means the estate of the Debtor created on the Petition Date by § 541 of
 the Bankruptcy Code.

        1.20 “Executory Contract” or “Unexpired Lease” means a contract or lease to which
 the Debtor is a party that is subject to assumption, assumption and assignment or rejection under
 § 365 of the Bankruptcy Code.

        1.21 “File” or “Filed” means, with respect to any pleading, entered on the docket of the
 Chapter 11 Case and properly served in accordance with the Bankruptcy Rules or with respect to
 a Claim, a Claim for which a Proof of Claim has been properly and timely filed in accordance with
 the deadlines established by the Bankruptcy Court for filing Proofs of Claim.

         1.22     “Final Order” means an order or judgment of the Bankruptcy Court, or other court
 of competent jurisdiction with respect to the subject matter, which has not been reversed, stayed,
 modified or amended, and as to which the time to appeal, petition for a writ of certiorari or move
 for reargument or rehearing has expired and no such appeal, petition, or motion has been timely
 Filed, or as to which any appeal, petition, or motion that has been Filed has been resolved by the
 highest court to which the order or judgment was appealed or from which certiorari was sought or
 has otherwise been dismissed; provided, however, that the possibility that a motion under Federal
 Rule of Civil Procedure 60 or Federal Rule of Bankruptcy Procedure 9024 may be filed with regard
 to such an order or judgment shall not cause such order or judgment not to be a Final Order.

        1.23 “General Unsecured Claims” means Claims against the Debtor that are not
 Secured Claims, Administrative Claims, Priority Claims, Professional Fee Claims, Deficiency
 Claims or claims for rejection damages under an executory contract or unexpired lease.

        1.24 “Impaired” means, with respect to a Claim, or Class of Claims, “impaired” within
 the meaning of §§ 1123(a)(4) and 1124 of the Bankruptcy Code.

        1.25    "IRS" means the United States Treasury, Internal Revenue Service.




Case 18-83442-CRJ11        Doc 99     Filed 05/20/19 Entered 05/20/19 16:43:29           Desc Main
                                    Document      Page 4 of 16
         1.26 “Net Plan Profits” means net profits determined in accordance with generally
 accepted accounting principles consistently applied: (a) less administrative payments which are
 due on or before the date on which Net Plan Profits are being calculated; (b) less any payments
 required by this plan, which are due on or before the date on which Net Plan Profits are being
 calculated, other than payments out of Net Plan Profits.

         1.27 "Plan" means this plan of liquidation under Chapter 11 of the Bankruptcy Code,
 either in its present form or as it may be altered, amended, modified or supplemented from time to
 time in accordance with the Bankruptcy Code, the Bankruptcy Rules or herewith, as the case may
 be.

        1.28    "Petition Date" means November 16, 2018.

        1.29 "Priority Claim" means those expenses and claims which may be provided for
 under 11 U.S.C. Section 507 (a) (2), (3), (4), (5), (6), (7), (8) and (9) of the Code.

        1.30    "Proponent" means Debtor.

        1.31 "Pro Rata" means the ratio of the amount of an individual Claim in any particular
 Class of Claims to the aggregate amount of all Claims in such Class that have not yet been
 disallowed.

          1.32 "Secured Claim" means a Claim against the Debtor (a) for an extension of credit
 to the Debtor that is secured by a Lien on property in which the Debtor’s Estate has an interest or
 that is subject to setoff under § 553 of the Bankruptcy Code, to the extent of the value of the Holder
 of such Claim’s interest in the Estate’s interest in such property or to the extent of the amount
 subject to setoff, as applicable, as determined pursuant to § 506(a) and, if applicable, § 1129(b) of
 the Bankruptcy Code, (b) arising under equipment financing leases, or (c) a tax claim secured by
 a Lien on property of the Debtor. To the extent the value of any property securing such Claim is
 less than the amount of such Claim, the difference between such value and such Claim is a
 “Deficiency Claim.”

         1.33 “Unimpaired” means, with respect to a Claim or Class of Claims, not “impaired”
 within the meaning of §§ 1123(a)(4) and 1124 of the Bankruptcy Code.

         1.34 "Unsecured Claim" means an unsecured claim, including a Deficiency Claim, that
 is not an Administrative Claim, a Claim for a Cure Amount, an Equity Claim, a Priority Claim, a
 Priority Tax Claim, or a Secured Claim, but shall not include any Claim that is disallowed or
 released, whether by operation of law, Final Order, written agreement, the provisions of this Plan
 or otherwise.




Case 18-83442-CRJ11         Doc 99     Filed 05/20/19 Entered 05/20/19 16:43:29             Desc Main
                                     Document      Page 5 of 16
                                     II.
             CLASSES AND CLASSIFICATIONS OF CLAIMS AND INTEREST

 2.0    UNCLASSIFIED CLAIMS

        A.     Administrative Expense Claims. Administrative Expense Claims shall consist of
        all administrative expense claims of the Debtor’s Chapter 11 case as allowed pursuant to
        § 503(b) of the code and given priority in accordance with § 507(a)(1) of the Code. These
        claims are divided into the following sub-categories:

               (i)     Maples Law Firm, P.C.: Debtor has incurred legal fees with the law firm
               of Maples Law Firm, P.C., relating to the firm’s representation of the Debtor in
               Bankruptcy. These legal fees, if approved by the Court, shall constitute an
               Administrative Expense Claim which is unimpaired and shall be paid in full as of
               the Effective Date of the Plan.
               (ii)  IRS.: The IRS asserts a Priority Claim of $13,089.88. The Allowed Priority
               Claim of the IRS shall be paid in the sixty (60) equal monthly installments,
               commencing sixty (60) days after the Effective Date of the Plan. Payment on the
               IRS Tax Claim shall be $241.00 per month, at 4% interest, per annum.
               (iii) Alabama Department of Revenue.: The Alabama Department of Revenue
               asserts a Priority Claim of $5,630.62. The Allowed Priority Claim of the Alabama
               Department of Revenue shall be paid in the sixty (60) equal monthly installments,
               commencing sixty (60) days after the Effective Date of the Plan. Payment on the
               Alabama Department of Revenue Tax Claim shall be $104.00 per month, at 4%
               interest, per annum.
        B.     Tax Claims.
               (i)     The Allowed Tax Claim of the IRS.
               (ii)    The Allowed Tax claim of the Alabama Department of Revenue.
               (iii)   The Allowed Tax claim of any other taxing authorities.

 2.01   UNIMPAIRED CLASSES

        All classes of claims are impaired under the Plan.

 2.02   IMPAIRED CLASSES

        Class 1 – Allowed Unsecured Claims.

        Class 1 shall consist of the Allowed Unsecured Claims of all other unsecured creditors.

        Class 2 – Individual Equity.

        Class 2 shall consist of individual equity.




Case 18-83442-CRJ11        Doc 99     Filed 05/20/19 Entered 05/20/19 16:43:29          Desc Main
                                    Document      Page 6 of 16
                                   III.
          IMPAIRMENT AND TREATMENT OF CLASSES UNDER THE PLAN

         The Plan will be summarized by incorporation of pertinent portions. Other provisions of
 the Plan are extremely important, especially Article I, Definitions. The Plan should be read in full.

 3.0    TREATMENT OF UNCLASSIFIED CLAIMS

        A.       Administrative Expense Claims: This class shall consist of all administrative
 expense claims of the Debtor' Chapter 11 case as allowed pursuant to § 503(b) of the Code and
 given priority in accordance with § 507(a)(1) of the Code. This class is divided into the following
 sub-classes:

                (i)    Maples Law Firm, P.C.: Debtor has incurred legal fees with the law firm of
                       Maples Law Firm, P.C. relating to the firm’s representation of the Debtor in
                       Bankruptcy. These legal fees, if approved by the Court, shall constitute an
                       Administrative Expense Claim which is unimpaired and shall be paid in full
                       as of the Effective Date of the Plan.

                (ii)   IRS.: The IRS asserts a Priority Claim of $13,089.88. The Allowed Priority
                       Claim of the IRS shall be paid in the sixty (60) equal monthly installments,
                       commencing sixty (60) days after the Effective Date of the Plan. Payment on
                       the IRS Tax Claim shall be $241.00 per month, at 4% interest, per annum.


                (iii) Alabama Department of Revenue.: The Alabama Department of Revenue
                      asserts a Priority Claim of $5,630.62. The Allowed Priority Claim of the
                      Alabama Department of Revenue shall be paid in the sixty (60) equal monthly
                      installments, commencing sixty (60) days after the Effective Date of the Plan.
                      Payment on the Alabama Department of Revenue Tax Claim shall be $104.00
                      per month, at 4% interest, per annum.

 3.01   TREATMENT OF IMPAIRED CLAIMS

        Classified Claims:

        Class 1 – Unsecured Claims.

        Class 1 consists of the Allowed Unsecured Claims of all other unsecured creditors. The
        Allowed Unsecured Claims of the unsecured creditors shall be paid the greater of: the
        remainder of the disposable income of the Debtors after the payment of all administrative
        and tax claims; or, $2,500.00 paid by the Debtors at the completion of the Plan to the
        Disbursing Agent to be distributed pro rata to Allowed Unsecured Claims. This payment
        will be made by the Disbursing Agent.




Case 18-83442-CRJ11         Doc 99     Filed 05/20/19 Entered 05/20/19 16:43:29            Desc Main
                                     Document      Page 7 of 16
 Class 2 – Individual Equity.

         Class 2 shall consist of individual equity claims of the Debtor. No individual equity
         payments are expected at this.


                                                     IV.
                     PROVISIONS FOR REJECTION AND ASSUMPTION
                             OF EXECUTORY CONTRACTS

         To the best of Debtor’s knowledge, he is not a party to any executory contacts. To the
 extent that the Debtor is a party to such a contract, the same is hereby assumed.

                                           V.
                             MEANS OF EXECUTION OF THE PLAN

 5.01 Means of Implementation of the Plan. Debtor shall implement the terms of the Plan by
 executing all documents necessary. Debtor shall also execute such additional documents as are
 necessary to comply with the terms of the Plan.

 5.02 Execution of All Documents. The Plan authorizes the Debtor to execute all documents
 necessary to carry out the terms of the Plan.

 5.03 Objections to Claims and Allowances. No payment or distribution shall be made to the
 holder of a claim against which an objection has been filed within thirty (30) days after the
 Effective Date until any such objection to a claim has been determined by Final Order of the Court.
 Disputed and unliquidated claims shall be estimated for purposes of voting and unless the Court
 orders otherwise, payments to holders of contested claims that are subsequently allowed shall be
 made in accordance with the terms of the Plan. Contest of claims shall be filed with the Court no
 later than sixty (60) days after the Effective Date.

 5.04 Retention of Assets. Except as provided for in the Plan or in the order confirming the
 Plan, on the Confirmation Date the Debtor shall be vested with all of the property of the estate and
 shall retain all property rights free and clear of all liens, charges, and other interests of the creditors.

                                      VI.
                   MODIFICATION AND CONFIRMATION OF THE PLAN

 6.01 Pre-Confirmation Modifications. Debtor may propose modifications hereof at any time
 prior to Confirmation without leave of this Court, upon such notice as may be required by this
 Court. If such modification is made after acceptance hereof, this Plan as so modified shall be
 deemed accepted by all holders of claims and equity interests that have previously accepted this
 plan, provided that this Court finds that such modification would not materially and adversely
 change the treatment of the holders of claims or equity interests that have not accepted such
 modification in writing.




Case 18-83442-CRJ11           Doc 99     Filed 05/20/19 Entered 05/20/19 16:43:29                 Desc Main
                                       Document      Page 8 of 16
 6.02   Post-Confirmation Modifications.

        (a) Except as provided in Subsection (b) of this section, Debtor may modify this Plan after
        Confirmation only if this Court determines that this Plan as so modified meets all of the
        requirements for confirmation.

        (b)    Notwithstanding Subsection (a) of this section, the Debtor may modify this Plan
        during the period between the Confirmation Date and the "substantial consummation,"
        provided that this Court determines only that such modification does not materially and
        adversely change the treatment of claims or equity interests but merely remedies a defect
        or omission or reconciles an inconsistency in or between this Plan and/or the Confirmation
        Order in such manner as may be necessary to carry out the purposes and effect hereof.

 6.03   Effect of Confirmation.

        (a) Upon Confirmation, the provisions hereof shall bind the Debtor and each holder of a
        Claim whether or not (1) the Claim of such holder is impaired hereunder, or (2) such holder
        has accepted this plan.

        (b)     Except as otherwise provided herein or in the Confirmation Order, Confirmation
        vests all of the property of the estate in Debtor, free and clear of all claims.

        (c)     Except as provided for in § 1141(d)(5), Confirmation discharges the Debtor from
        any debt that arose before the Confirmation Date and any claim of a kind specified in
        Section(s) 502(g), 502(h), or 502(i) of the Bankruptcy Code, whether or not (1) a proof of
        claim is filed with respect thereto, (2) the debt appears in the schedules of liabilities filed
        by the Debtor, (3) the debt is allowed, or (4) the holder of such debt has accepted this Plan.

        (d)     Confirmation shall constitute approval or ratification by this Court of the
        assumption or rejection of the Debtor' executory contracts and unexpired leases pursuant
        to Section IV hereof.

        (e)     Confirmation shall constitute approval by this Court of all financing arrangements,
        leases, contracts, and other actions that the Debtor propose in the Disclosure Statement or
        herein, to enter into, make, or take in connection with implementation hereof, including the
        execution of any documents as of the Effective Date.

                                   VII.
               RETENTION, ENFORCEMENT AND WAIVER OF CLAIMS

 7.01 Pursuant to § 1123 (b) (3) of the Code, the Debtor shall retain and may enforce any and all
 claims of the Debtor except claims waived, relinquished, or released in accordance with the Plan.

 7.02 No party in interest except the Debtor shall maintain or commence an action to recover a
 preference as defined in § 547 (b) of the Code after the Confirmation Order is entered.




Case 18-83442-CRJ11        Doc 99     Filed 05/20/19 Entered 05/20/19 16:43:29              Desc Main
                                    Document      Page 9 of 16
 7.03 Contests of Claims shall be filed with the Court not later than thirty (30) days after the
 Effective Date.
                                            VIII.
                               JURISDICTION OF THE COURT

 8.01 Continuing Jurisdiction. The Court shall retain and have exclusive jurisdiction over the
 Reorganization Case for the following purposes:

        (a)    To determine any and all objections to the allowance of claims or interests;

        (b)    To determine any and all applications for allowances of compensation and
        reimbursement of expenses and any other fees and expenses authorized to be paid or
        reimbursed under the Bankruptcy Code or the Plan;

        (c)     To determine any applications or motions pending on the Effective Date for the
        rejection, assumption, or assumption and assignment of any executory contract and to hear
        and determine, and if need be, to liquidate any and all claims arising therefrom;

        (d)    To determine any and all applications, adversary proceedings, and contested
        matters that may be pending on the Effective Date;

        (e)    To consider any modification of this Plan, remedy any defect or omission or
        reconcile any inconsistency in any Order of the Court, to the extent authorized by the Court;

        (f)     To determine all controversies, suits, and disputes that may arise in connection with
        the interpretation, enforcement, or consummation of the Plan or that may involve or affect
        the value of assets of the Company administered by the Plan;

        (g)     To consider and act on the compromise and settlement of any claim against or cause
        of action by or against the Debtor arising under or in connection with the Plan;

        (h)    To issue such orders in aid of execution of the Plan to the extent authorized by
        § 1142 of the Bankruptcy Code;

        (i)    To determine such other matters as may be set forth in any order or orders
        confirming the Plan or which may arise in connection with the Plan or any other Order or
        Orders confirming the Plan.

                                        IX.
                              MISCELLANEOUS PROVISIONS

 9.01 Prior Court Orders. All prior orders entered by the United States Bankruptcy Court for
 the Northern District of Alabama are hereby incorporated by reference, including their terms,
 conditions, benefits, requirements and obligations.




Case 18-83442-CRJ11        Doc 99 Filed 05/20/19 Entered 05/20/19 16:43:29                 Desc Main
                                 Document    Page 10 of 16
 9.02 Cramdown. With respect to any class not accepting the Plan, the Proponent does hereby
 request confirmation of the Plan pursuant to § 1129(b) of the Bankruptcy Code on the grounds that
 the Plan does not discriminate unfairly and is fair and equitable with respect to each class of claims
 that are impaired.

 9.03 Quarterly Fees. The Debtor will make their quarterly fees to the Bankruptcy
 Administrator pursuant to 28 U.S.C. § 1930. Debtor will continue to make these payments as
 required post-petition.

 9.04 Compliance with Tax Requirements. In connection with the Plan, the Debtor will
 comply with all withholding and reporting requirements imposed by federal, state and local taxing
 authorities, and all distributions hereunder shall be subject to such withholding and reporting
 requirements.

 9.05 Retention of Liens. Each creditor whose claim is secured by a lien or mortgage on
 property of the Debtor shall retain such lien or mortgage until such creditor’s claim is paid in full
 according to the treatment proposed under the Plan at which time the lien shall be released.

 9.06   Employment and Payment of Professionals.

        (a)     During the period between the Confirmation Date and the Effective Date, Debtor
        may (1) continue to avail itself of the services of professional persons whose employment
        was approved at or prior to Confirmation in completing the administration of this case and
        in the consummation and performance hereof, and (2) if necessary and with the approval
        of this Court, employ additional professional persons to render such services.

        (b)     With respect to services rendered and expenses incurred in or in connection with
        this case during such period by any such professional person, the professional person may
        render periodic billings therefore to the Debtor and the Debtor shall promptly pay the same,
        but each such payment shall be subject to review and approval by this Court as to the
        reasonableness thereof.

 9.07 Notice of Hearing and Motions Post Confirmation. Upon confirmation of the Plan, all
 of the motions, and applications for compensation to professionals, and notices of such hearings
 shall be limited to the Debtor, Bankruptcy Administrator and any party of interest directly affected
 by such motion or application.

 9.08 Satisfaction of Claims. The rights afforded in this Plan shall be in exchange for and in
 complete satisfaction, discharge, and release of all Allowed Claims, liens and encumbrances of
 any nature whatsoever, including any interest accrued thereon from and after the Filing Date,
 against the Debtor or any of their assets; and, except as otherwise provided herein, on
 Confirmation, all such Allowed Claims against the Debtor or their assets, any other or further
 Allowed Claim based upon any act or omission, transaction or other activity of any kind or nature
 that occurred prior to Confirmation are satisfied, discharged and released.




Case 18-83442-CRJ11         Doc 99 Filed 05/20/19 Entered 05/20/19 16:43:29                 Desc Main
                                  Document    Page 11 of 16
                                          X.
                                    CLOSING OF CASE

 10.1 Procedure for Closing Case. If the Court concludes that a hearing on such motion would
 be appropriate, such hearing shall be conducted upon notice only to the Debtor, the Bankruptcy
 Estate Administrator, and persons specially requesting notices at the hearing on confirmation.

        Respectfully submitted on May 20, 2019.

                                                   Debtor and Debtor-in-Possession

                                                   /s/ William Barrier Roberts
                                                   WILLIAM BARRIER ROBERTS

                                                   /s/ Stuart M. Maples
                                                   STUART M. MAPLES
                                                   DEANNA S. SMITH

 Stuart M. Maples
 MAPLES LAW FIRM, PC
 200 Clinton Ave. W, Suite 1000
 Huntsville, AL 35801
 (256) 489-9779 - Telephone
 (256) 489-9720 – Facsimile
 smaples@mapleslawfirmpc.com
 dsmith@mapleslawfirmpc.com

 Counsel for the Debtor




Case 18-83442-CRJ11       Doc 99 Filed 05/20/19 Entered 05/20/19 16:43:29            Desc Main
                                Document    Page 12 of 16
                                 CERTIFICATE OF SERVICE

        I do hereby certify that a copy of the foregoing document was served on the following by
 the method listed below on May 20, 2019.

 Richard Blythe
 Bankruptcy Administrator
 P.O. Box 3045
 Decatur, AL 35602
 Via email: richard_blythe@alnba.uscourts.gov

 All parties requesting notice via ECF

 Via U.S. Mail to all creditors on matrix

                                                    /s/ Stuart M. Maples
                                                    OF COUNSEL




Case 18-83442-CRJ11        Doc 99 Filed 05/20/19 Entered 05/20/19 16:43:29            Desc Main
                                 Document    Page 13 of 16
Label Matrix for local noticing        Bullet & Barrel, LLC                First National Bank of Pulaski
1126-8                                 612 Eustis Avenue                   206 South 1st Street
Case 18-83442-CRJ11                    Huntsville, AL 35801-4114           Pulaski, TN 38478
NORTHERN DISTRICT OF ALABAMA
Decatur
Mon May 20 16:37:15 CDT 2019
PRA Receivables Management, LLC        SmartBank                           U. S. Bankruptcy Court
PO Box 41021                           c/o Justin B. Little                400 Well Street
Norfolk, VA 23541-1021                 REYNOLDS, REYNOLDS & LITTLE, LLC    P. O. Box 2775
                                       Post Office Box 2863                Decatur, AL 35602-2775
                                       Tuscaloosa, AL 35403-2863

*Alabama Department of Revenue         *American Express                   *Belk/Synchrony Bank
PO Box 327483                          PO Box 981535                       PO Box 530940
Montgomery, AL 36132-7483              El Paso, TX 79998-1535              Atlanta, GA 30353-0940



*GMFS LLC c/o SLS                      *Home Depot                         *Internal Revenue Service
8742 Lucent Blvd., Ste 300             PO Box 790328                       Centralized Insolvency Operations
Highlands Ranch, CO 80129-2386         Saint Louis, MO 63179-0328          PO Box 7346
                                                                           Philadelphia, PA 19101-7346


*North Alabama Bank                    *Redstone Federal Credit Union      American Express National Bank
PO Box 669                             220 Wynn Dr.                        c/o Becket and Lee LLP
Hazel Green, AL 35750-0669             Huntsville, AL 35893-0001           PO Box 3001
                                                                           Malvern PA 19355-0701


Bullet & Barrel, LLC                   Charlotte Schlittler                David R. Beasley
c/o Melanie Murray                     c/o Kevin Gray, Esq.                655 Gallatin Street
612 Eustis Ave                         Bradley Arant Boult Cummings, LLP   Huntsville, Alabama 35801-4936
Huntsville, AL 35801-4114              200 Clinton Avenue West, Ste. 900
                                       Huntsville, Alabama 35801-4933

Dr. Rhett Blake Murray                 First National Bank                 GMFS LLC
612 Eustice Ave                        2101 Clinton Avenue, Suite 101      c/o Specialized Loan Servicing LLC
Huntsville, AL 35801-4114              Huntsville, Alabama 35805-3093      8742 Lucent Blvd, Suite 300
                                                                           Highlands Ranch, Colorado 80129-2386


Internal Revenue Service               Jayna P. Lamar                      Joyce White Vance
P.O. Box 7346                          1901 Sixth Avenue North             US Attorney General
Philadelphia, PA 19101-7346            2400 Regions/Harbert Plaza          1801 4th Ave North
                                       Birmingham, AL 35203                Birmingham, AL 35203-2101


Loretta Lynch US Attorney General      Luther Strange                      Melanie Murray
US Dept. of Justice                    Alabama Attorney General            612 Eustis Ave
950 Pennsylvania Ave NW                PO Box 300152                       Huntsville, AL 35801-4114
Washington, DC 20530-0009              Montgomery, AL 36130-0152


North Alabama Bank                     Secretary of the Treasury           (p)SMARTBANK
220 Providence Main                    1500 Pennsylvania Ave., NW          ATTN LYNN VANDERGRIFF - SPECIAL ASSETS
Huntsville, AL 35806-4831              Washington, DC 20220-0001           6413 LEE HIGHWAY
                                                                           SUITE 107
                                                                           CHATTANOOGA TN 37421-4860
             Case 18-83442-CRJ11    Doc 99 Filed 05/20/19 Entered 05/20/19 16:43:29        Desc Main
                                          Document    Page 14 of 16
State of Alabama                                     Synchrony Bank                                       U.S.Securities & Exchange Commission
Department of Revenue Legal Division                 c/o PRA Receivables Management, LLC                  Reg Director,Branch of Reorganization
PO Box 320001                                        PO Box 41021                                         Atlanta Regional Office,
Montgomery, AL 36132-0001                            Norfolk VA 23541-1021                                Suite 900 950 East Paces Ferry Road
                                                                                                          Atlanta, GA 30326-1382

United States Attorney                               United States Bankruptcy Administrator               Walter A. Dodgen
Northern District of Alabama                         Northern District of Alabama                         655 Gallatin Street
1801 Fourth Avenue North                             1800 Fifth Avenue North                              Huntsville, Alabama 35801-4936
Birmingham, AL 35203-2101                            Birmingham, AL 35203-2111


Blake Cantrell                                       Charlotte Bentley Schlittler                         David R. Beasley
Caldwell Banker of the Valley                        c/o Kevin Gray                                       655 Gallatin Street
7027 Old Madison Pike Suite 102                      200 Clinton Ave W                                    Huntsville, AL 35801-4936
Huntsville, AL 35806-2369                            Suite 900
                                                     Huntsville, AL 35801-4933

Jayna Partain Lamar                                  Melanie Hammer Murray                                Rhett Murray
Maynard, Cooper & Gale, P.C.                         612 Eustis Avenue                                    612 Eustis Avenue
1901 Sixth Ave North                                 Huntsville, AL 35801-4114                            Huntsville, AL 35801-4114
Suite 2400
Birmingham, AL 35203-4604

Richard M Blythe                                     Shannan League Roberts                               Stuart M Maples
United States Bankruptcy Administrator               c/o Kevin Gray                                       Maples Law Firm
PO Box 3045                                          200 Clinton Ave W                                    200 Clinton Ave. West, Ste. 1000
Decatur, AL 35602-3045                               Suite 900                                            Huntsville, AL 35801-4919
                                                     Huntsville, AL 35801-4933

Stuart M Maples                                      Walter A Dodgen                                      William Barrier Roberts
Maples Law Firm, PC                                  655 Gallatin Street                                  2115 Big Cove Rd
200 Clinton Avenue W.                                Huntsville, AL 35801-4936                            Huntsville, AL 35801-1347
Suite 1000
Huntsville, AL 35801-4919



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Smart Bank
PO Box 1910
Pigeon Forge, TN 37868




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)NORTH ALABAMA BANK                                (u)*Citibank                                         (d)PRA Receivables Management, LLC
                                                     PO Box 790046                                        PO Box 41021
                                                     MO 63170                                             Norfolk, VA 23541-1021


             Case 18-83442-CRJ11               Doc 99 Filed 05/20/19 Entered 05/20/19 16:43:29                            Desc Main
                                                     Document    Page 15 of 16
End of Label Matrix
Mailable recipients   47
Bypassed recipients    3
Total                 50




             Case 18-83442-CRJ11   Doc 99 Filed 05/20/19 Entered 05/20/19 16:43:29   Desc Main
                                         Document    Page 16 of 16
